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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF MISSOURI
                             SOUTHEASTERN DIVISION

THE STATE OF MISSOURI,          )
ex rel. ERIC S. SCHMITT, in his official
                                )
capacity as Missouri Attorney General,
                                )
                                )
      Plaintiff,                )
                                )
v.                              )
                                )
THE PEOPLE’S REPUBLIC OF CHINA, )
THE COMMUNIST PARTY OF CHINA, )                      Case No.: 1:20-cv-00099-SNLJ
NATIONAL HEALTH COMMISSION      )
OF THE PEOPLE’S REPUBLIC OF     )
CHINA, MINISTRY OF EMERGENCY    )
MANAGEMENT OF THE PEOPLE’S      )
REPUBLIC OF CHINA, MINISTER OF )
CIVIL AFFAIRS OF THE PEOPLE’S   )
REPUBLIC OF CHINA, PEOPLE’S     )
GOVERNMENT OF HUBEI             )
PROVINCE, PEOPLE’S GOVERNMENT )
OF WUHAN CITY, WUHAN INSTITUTE )
OF VIROLOGY, AND CHINESE        )
ACADEMY OF SCIENCES,            )
                                )
      Defendants.               )

     MOTION OF LAWYERS FOR UPHOLDING INTERNATIONAL LAW FOR
     LEAVE TO FILE AMICUS CURIAE BRIEF IN OPPOSITION TO PLAINTIFF
       THE STATE OF MISSOURI’S COMPLAINT AGAINST DEFENDANTS
                THE PEOPLE’S REPUBLIC OF CHINA, ET AL.

       The Lawyers for Upholding International Law (hereinafter “Proposed Amici”) respectfully

move this Court for leave to file the attached Amicus Curiae Brief in Opposition to Plaintiff The

State of Missouri’s Complaint against Defendants The People’s Republic of China, et al. As

argued more fully in the Brief, Proposed Amici respectfully request that this Court dismiss

Plaintiff’s Complaint sua sponte.




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         Movants consist of Professor Geert-Jan Alexander Knoops and Professor Tom Zwart.

Professor Knoops and Professor Zwart are international law scholars at various institutions and

are leading experts in the field of international law. They each have an extensive academic and

professional background in their respective field.

         As stated in the accompanying Memorandum of Law in Support of the Motion for Leave

to File Amicus Curiae Brief, Proposed Amici are uniquely qualified to offer the Court detailed

analysis on the issues of international law, specifically the sovereign immunity of China, and the

severe deficiencies of Plaintiff The State of Missouri’s Complaint as well as the potential

ramifications on international legal matters. The analysis contained in the Brief exhibits the

multitude of reasons this Court could consider to dismiss Plaintiff’s Complaint sua sponte.

Moreover, this amicus brief is timely in that it provides arguments for the Court to consider the

dismissal of Plaintiff’s Complaint early on in the litigation before the Court goes into the substance

of the case.

         For these reasons, which are more fully stated in the accompanying Memorandum of Law,

The Lawyers for Upholding International Law respectfully request that this Court grant this

Motion for Leave to File the attached amicus curiae brief.



Dated:          September 25, 2020




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                                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I certify that on this day, I filed the foregoing Motion for Leave to File the Amicus Curiae
Brief of Group of Experts in International Law in Opposition to Plaintiff The State of
Missouri’s Complaint against Defendants The People’s Republic of China, et al. with the
clerk’s office via the CM/ECF system, which will send notification of filing to the following
counsel of record:

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